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19-50639-amk   Doc 10-2   FILED 04/05/19   ENTERED 04/05/19 13:07:47   Page 1 of 22
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19-50639-amk   Doc 10-2   FILED 04/05/19   ENTERED 04/05/19 13:07:47   Page 2 of 22
                                      EXHIBIT B




19-50639-amk   Doc 10-2   FILED 04/05/19   ENTERED 04/05/19 13:07:47   Page 3 of 22
                                      EXHIBIT B




19-50639-amk   Doc 10-2   FILED 04/05/19   ENTERED 04/05/19 13:07:47   Page 4 of 22
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19-50639-amk   Doc 10-2   FILED 04/05/19   ENTERED 04/05/19 13:07:47   Page 5 of 22
                                      EXHIBIT B




19-50639-amk   Doc 10-2   FILED 04/05/19   ENTERED 04/05/19 13:07:47   Page 6 of 22
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19-50639-amk   Doc 10-2   FILED 04/05/19   ENTERED 04/05/19 13:07:47   Page 7 of 22
                                      EXHIBIT B




19-50639-amk   Doc 10-2   FILED 04/05/19   ENTERED 04/05/19 13:07:47   Page 8 of 22
                                      EXHIBIT B




19-50639-amk   Doc 10-2   FILED 04/05/19   ENTERED 04/05/19 13:07:47   Page 9 of 22
                                      EXHIBIT B




19-50639-amk   Doc 10-2   FILED 04/05/19   ENTERED 04/05/19 13:07:47   Page 10 of 22
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19-50639-amk   Doc 10-2   FILED 04/05/19   ENTERED 04/05/19 13:07:47   Page 11 of 22
                                      EXHIBIT B




19-50639-amk   Doc 10-2   FILED 04/05/19   ENTERED 04/05/19 13:07:47   Page 12 of 22
                                      EXHIBIT B




19-50639-amk   Doc 10-2   FILED 04/05/19   ENTERED 04/05/19 13:07:47   Page 13 of 22
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19-50639-amk   Doc 10-2   FILED 04/05/19   ENTERED 04/05/19 13:07:47   Page 14 of 22
                                      EXHIBIT B




19-50639-amk   Doc 10-2   FILED 04/05/19   ENTERED 04/05/19 13:07:47   Page 15 of 22
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19-50639-amk   Doc 10-2   FILED 04/05/19   ENTERED 04/05/19 13:07:47   Page 16 of 22
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19-50639-amk   Doc 10-2   FILED 04/05/19   ENTERED 04/05/19 13:07:47   Page 17 of 22
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19-50639-amk   Doc 10-2   FILED 04/05/19   ENTERED 04/05/19 13:07:47   Page 18 of 22
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19-50639-amk   Doc 10-2   FILED 04/05/19   ENTERED 04/05/19 13:07:47   Page 19 of 22
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19-50639-amk   Doc 10-2   FILED 04/05/19   ENTERED 04/05/19 13:07:47   Page 20 of 22
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19-50639-amk   Doc 10-2   FILED 04/05/19   ENTERED 04/05/19 13:07:47   Page 21 of 22
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19-50639-amk   Doc 10-2   FILED 04/05/19   ENTERED 04/05/19 13:07:47   Page 22 of 22
